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                                                             FILED
                                                      2:38 pm, Feb 19, 2021
                                                       U.S. DISTRICT COURT
                                                    SOUTHERN DISTRICT OF INDIANA
                                                       Roger A.G. Sharpe, Clerk
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